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 5   Attorney for Plaintiffs
 6
 7
                                 UNITED STATES DISTRICT COURT
 8                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                    SAN FRANCISCO DIVISION
 9
10   IN RE: VOLKSWAGEN “CLEAN DIESEL”                          Case No. 3:15-md-02672-CRB
     MARKETING, SALES PRACTICES, AND
11   PRODUCTS LIABILITY LITIGATION
12
13
     This Document Relates to:                       )         Case No. 3:17-cv-05074
14                                                   )
     RANDALL BILYEU et al.                           )
15                                                   )
16   Plaintiffs                                      )
                                                     )         STIPULATION OF DISMISSAL
17                                                   )         AS TO CERTAIN PLAINTIFFS
                                                     )
18
                                                     )
19                                                   )
                                                     )         The Honorable Charles Breyer
20   vs.                                             )
                                                     )         Date:
21
                                                     )         Time:
22   VOLKWAGEN GROUP OF AMERICA,                     )
     INC. et al.                                     )         Complaint Filed: October 15, 2015
23                                                   )
24   Defendants                                      )

25
                  STIPULATION OF DISMISSAL AS TO CERTAIN PLAINTIFFS
26
27           The parties hereby stipulate and agree that all of the claims for the Plaintiffs set forth below
28   are hereby dismissed with prejudice, with each side to bear its own costs.



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 1                               Plaintiffs who are Dismissing Their Claims
 2
                1. William Mayes
 3
 4
            The parties hereby stipulate and agree that the claims brought by all other Plaintiffs not
 5
     listed above remain and that this Stipulation does not in any way impact or affect the claims of
 6
 7   those Plaintiffs not listed above.

 8
     DATED: January 18, 2019.
 9                                                Respectfully submitted,
10
                                                  /s/ Charles Miller________________
11
                                                  Charles Miller, SBN 276523
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                                                  ATTORNEYS FOR PLAINTIFFS
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                                                   /s/ William B. Monahan
 1
                                                   William B. Monahan (admitted pro hac vice)
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                                                   monahanw@sullcrom.com
 4
 5                                                Counsel for Defendant Volkswagen Group of
                                                  America, Inc.
 6
 7
 8                                   CERTIFICATE OF SERVICE
 9
10          I hereby certify that on the 18th day of January, 2019, I filed the foregoing from the Service
11
     List and a copy has been served on all Parties required to be served by electronically filing with
12
     the Clerk of the Court of the U. S. District Court for the Northern District of California, San
13
     Francisco Division, by using the CM/ECF system.
14
15                                                         /s/ Charles Miller________________

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